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so that we can return the card to you. : -
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or on the front if space permits.
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i cal ne If YES, enter delivery address below: 0 No |
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3. Service Type C1 Priority Mail Express®

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Form 3811, July 2020 PSN 7530-02-000-9053 Domestic Retain ‘Beceist |
To: From:

ATTENTION: C.F.O. of Jennifer-Enid:Gonzalez for

Toyota Financial Services JENNIFER ENID GONZALEZ ESTATE
PO Box 22174 c/o2? Haynes Street

Tempe, AZ 85285 Worcester, Massachusetts [07603]
Respondent non-domestic

U.S.P.S. CERTIFIED MAIL TRACKING NO. 70222410000017923857
July “7, 2023.

CEASE AND DESIST NOTICE

Dear Mr. / Ms. C.F.O.:

Throughout the time frame of January, 2021 to the present day, your company has
repeatedly contacted me, claiming that |! owe a debt under Toyota Financial Services
account number 0247083636. | do not believe that | still owe this debt after your receipt
of my preseniment on June 23rd, 2023, containing debt instruments as well as
instructions for the setoff , settlement and closure of this account. Further, ! am
requesting that you validate the claim that this debt has not yet been settled, set off and
closed by affidavit under full commercial liability but you have disregarded the attempt to
validate the debt. Such conduct from your company has caused me to suffer severe
humiliation and embarrassment, emotional distress and physical discomfort as well as
other private and/or commercial damages. You have violated 15 U.S.C 1692(c) of the
Fair Debt Collection Practices Act and breached your duties as fiduciary trustee by
harassing me regarding this debt. } demand that you cease and desist of this activity as
soon as possible within (15) days from your receipt of this Notice. This includes
eliminating this account from your records, discontinuing and retracting reports to and
all credit reporting Bureaus and ceasing any and all communication to me. If action is
not taken by you io cease and desist within the given time frame, | will have no choice
but io take appropriate legal action against your firm.

Kindly govern yourself accordingly.

Respectfully
Without Prejudice,

ow a _ ut . f ,
Jenuter ~ Ena - onde gz
Jennifer-Enid:Gonzalez
Attorney in Fact

From: Jennifer-Enid:Gonzalez for Date: July / , 2023.
JENNIFER ENID GONZALEZ ESTATE
c/o 27 Haynes Street 4

Worcester, Massachuseitis [01603] / Account number: 0247083636
To: Toyota Financial Services U.S.P.S CERTIFIED MAIL TRACKING NO,
P.O Box 22171 7022241000001 7923857

Tempe, AZ 85285

AFFIDAVIT OF RESPONSE FOR CEASE AND DESIST
Consumer Enforcement as Administrative Counter-Claim by Private Right of Action

NOTICE TO AGENT !S NOTICE TO PRINCIPAL;
NCTICE TO PRINCIPAL IS NOTICE TO AGENT.

Notice, itis a Fact, that, | Jennifer-Enid:Gonzalez, agent for principal JENNIFER ENID
GONZALEZ and affiani, | arn a federally protected consumer, holder in due course,
atiorney, for any and all derivatives thereof for the surname/given name and | have
been appoinied and accept oeing the executor both public and private for all matters
proceeding, and | hereby claim that | will be doing business as JENNIFER ENID
GONZALEZ, and autograph as the agent and administrator in faci.

Notice, i is a Fact, that, |, agent for principal JENNIFER ENID GONZALEZ and affiant,
has received a statemeni including the subject maiter of an attempt to collect an alleged
debt for the account number 0247083638.

Notice. it is a Fact, that, |, agent for principal JENNIFER ENID GONZALEZ and affiant,
nave reason to believe and do so believe, | the consumer, owe no such alleged debi(s)
after accepting for value your June presentment/statement.

Notice, itis a Fact, that, i, agent for principal JENNIFER ENID GONZALEZ and affiant,
am disputing this alleged debt, invoking my specified remedy as original creditor
pursuant to 15 U.S.Code 1692c(c)(2) and pursuant to 15 U.S.Code 1692c{c) | demand
you to cease any communications and coliection activity of this alleged debt until you
can provide me with the requested information in this affidavit herein.

Notice, ii is a Fact, that, |, agent for ine principal JENNIFER ENID GONZALEZ and
affiant is aware, collection activity included furnishing any information on this subject
matter to any consumer reports. There should be no publication or advertising of any
kind until a dispute is resolved pursuant to 15 U.S.Code 1666a(a).
AFFIDAVIT OF RESPONSE FOR CEASE AND DESIST

Notice, it is a Fact, that, 1, agent for principal JENNIFER ENID GONZALEZ and affiant,
demand that you send me the name and address of the original creditor via mail
pursuant to 15 U.S.Code 1692g(b) in order to verify proof of the funding of this account
ending in account number 3636. Without this information there can be no verification on
who funded the original Joan.

Notice, it is a Fact, thai, 1, agent for principal JENNIFER ENID GONZALEZ and affiant,
dus to my compromised bank account, 1 demand a money audit trail in accordance with
12 U.S.Code 5562(c)(10} in order to verify what has occurred with this account ending
in accouni number 3636 for Toyota Financial Services to come back and say i owe any
such alleged debt.

Notice, itis a Fact, that, 1, agent for principal JENNIFER ENID GONZALEZ, demand a
Statement stating the the bank in fact loaned the associated debt money from their own
asseis in order to verify there is in fact a proof of claim of this debt. Without this | cannot
verify any valid claims of alleged debt in the name of my principal obligor.

Noiice, it is a Fact, that, i, agent for principal JENNIFER ENID GONZALEZ and affiant,
demand a certified copy of the original certificate of indebtedness in order to verify
Toyota Financial Services is in fact the current holder in due course there is in fact proof
of claim of this debt. Without this | cannot Verify, and there cannot be any valid claims of
alleged debts in the name of my principal obligor.

Notice, it is a Fact, that, 1, agent for principal JENNIFER ENID GONZALEZ demand a
full file disclosure in accordance with 15 U.S.C. 1684g and ail other documentary
evidence in accordance with 15 U.S.C. 44 and subsequent documenis including any
and ail accounts made using intellectual property, my signature, associated with this
account, so be ft. Without this | cannot verify, and there cannot be any valid claims of
alleged debts in the name of my principal obligor.

Notice, it is a Fact, that, 1, agent for the principal JENNIFER ENID GONZALEZ and
affiant, has reason to believe, without all requested documents in the affidavit herein
there can be no proof of claim by Toyota Financial Services and Foyota Financial
Services would be liable for creating a false deceptive form under 15 U.S.Code 1692}.
U.S.P.S. CERTIFIED MAIL TRACKING NO. 70222410000017923857
AFFIDAVIT OF RESPONSE FOR CEASE AND DESIST

Notice, it is a Fact, that, |, agent for principal JENNIFER ENID GONZALEZ and afiiant,
demand an insurance audit trail in accordance with 12 U.S.Code 183 tn(2){A} to verify
proof of the insurance or praof of any claims associated with this account ending with
account number #3636. Without this | cannot verify, and there cannot be any valid
claims of alleged insurance of any loan on the alleged debis owed in the name of my
principal obligor.

Notice, it is a Fact, that, |] agent for principal JENNIFER ENID GONZALEZ am aware
that Toyota Financial Services is in violation of 15 U.S.Code 1614(3). Whoever wilfully
and knowingly gives false or inaccurate information or fails to comply with any
requirements imposed under this subchapter shall be fined $5000 or imprisoned up to a
year.

Notice, it is a Fact, that, |, agent for principal JENNIFER ENID GONZALEZ anc aifiant ,
| dernand that you do nol terminate or close my account due io me exercising my righis
in good faith pursuant io 15 U.S.Code 1697(a)(3). Such an act of closing my account
without my authority will serve as proof Toyota Financial Services acted without ordinary
care, good faith, and has indeed performed illegal activity to this subject matter.

Notice, if is in fact, that, 1, agent for the principal JENNIFER ENID GONZALEZ and
aifiant am aware this account is associated with an open ended consumer credit plan as
described in 15 U.S.Code 1637. | am aware this account has not been balancing out
every month using the funds from the irust account my principal obligor. | demand my
open ended consumer credit plan be correcied and to balance out my account every
month to rectify the bank errors caused by Toyota Financial Services mismanagement
of payments.

Notice, it is a Fact, that, |, agent for principal JENNIFER ENID GONZALEZ am aware
that Toyota Financial Services a “debt collector’ here is the legal definition. Pursuant to
15 U.S.Code 1692(a)(6), a debt collector is any person who uses instrumentality of
interstate cornmerce or that mails in any business the principal purpose of which is the
collection of any debis, or who regularly collects or attempts to collect, directly or
indirectly, debts owed or due or asserted to be owed or due another.

U.S.P.S. CERTIFIED MAIL TRACKING NO. 7022241000001 7923857
AFFIDAVIT OF RESPONSE FOR CEASE AND DESIST

Notice, it is a Fact, without an affidavit response with rebuttal, point for point, then! am
conditionally accepting your non- reasonable response, as frivolous, and | will file fault
judgment in ihe favor of interest of | the consumer, holder in due course, attorney, and

administrator in fact.

Notice, it is a Fact and | agent for principal JENNIFER ENID GONZALEZ is aware, an
unrebuited affidavit stands a truth in commerce.

U.S.P.S. CERTIFIED MAIL TRACKING NO. 702224 10000017923857
AFFIDAVIT OF RESPONSE FOR CEASE AND DESIST

You have fifteen (15) days from the date of delivery to respond io this notice. Should
there be dishonor in the aforementioned requested documentation by way of unrebutted
affidavit, jailure to disclose requested documents, or failure of response, and the
particular requests to rectify any fault by Toyota Financial Services herein, will serve as

acquiescence and your agreement io a default judgment against your company for ihe
dishonor in the negotiable instrument, bank fraud, creation of false and deceptive form,
mishandling of goods, compromising my relationship my relationship with other financiai
institutions and including stress caused to me in the attempt of exercising my rights in
gocd faith. However, | do in good faith expect you to handle these maiters with ordinary
care to address ali subject matter.

Trank you,
JURAT

Whereas, | of age, of majority, give this notice to all, | make a solemn cain to the one
and only mest high of creation only, God, and ! dispose of the following facis, so be it,
nunc pro tunc

i swear io all information provided herein, | do so under the penalty of perjury that the
information | so affirrn to be true, correct, accurate to the best of my ability and
knowledge, 50 be iL

On the date of 7 of | Je ly , 70703 _, agent, Jennifer-Enia:Gonzalez
came before me today present as a flesh and blood living being (non eniity/non debior)
under oath to the most high of creation only and provided the fact listed hersin.

of
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Tart cl Oe i
Jernnake ters Ginapoere 2.

Attorney in Fact for JENNIFER ENID GONZALEZ

Swom ic or Affirmed | by and subscribed before me on the 7 day of July,
2023.2 nni _ flassechustttcs Drivers License Me SIs~2e2%

Notary Signature ,
U.S.PS. CERTIFIED MAIL TRACKING NO. 70222410000017223857

ADAM BEN
Ss Notary Public

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wy) My Commission Expires

May 16, 2027
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